Case 06-02229-lmj11   Doc 348 Filed 09/25/08 Entered 09/25/08 19:20:15   Desc
                        Main Document     Page 1 of 27
Case 06-02229-lmj11   Doc 348 Filed 09/25/08 Entered 09/25/08 19:20:15   Desc
                        Main Document     Page 2 of 27
Case 06-02229-lmj11   Doc 348 Filed 09/25/08 Entered 09/25/08 19:20:15   Desc
                        Main Document     Page 3 of 27
Case 06-02229-lmj11   Doc 348 Filed 09/25/08 Entered 09/25/08 19:20:15   Desc
                        Main Document     Page 4 of 27
Case 06-02229-lmj11   Doc 348 Filed 09/25/08 Entered 09/25/08 19:20:15   Desc
                        Main Document     Page 5 of 27
Case 06-02229-lmj11   Doc 348 Filed 09/25/08 Entered 09/25/08 19:20:15   Desc
                        Main Document     Page 6 of 27
Case 06-02229-lmj11   Doc 348 Filed 09/25/08 Entered 09/25/08 19:20:15   Desc
                        Main Document     Page 7 of 27
Case 06-02229-lmj11   Doc 348 Filed 09/25/08 Entered 09/25/08 19:20:15   Desc
                        Main Document     Page 8 of 27
Case 06-02229-lmj11   Doc 348 Filed 09/25/08 Entered 09/25/08 19:20:15   Desc
                        Main Document     Page 9 of 27
Case 06-02229-lmj11   Doc 348 Filed 09/25/08 Entered 09/25/08 19:20:15   Desc
                        Main Document    Page 10 of 27
Case 06-02229-lmj11   Doc 348 Filed 09/25/08 Entered 09/25/08 19:20:15   Desc
                        Main Document    Page 11 of 27
Case 06-02229-lmj11   Doc 348 Filed 09/25/08 Entered 09/25/08 19:20:15   Desc
                        Main Document    Page 12 of 27
Case 06-02229-lmj11   Doc 348 Filed 09/25/08 Entered 09/25/08 19:20:15   Desc
                        Main Document    Page 13 of 27
Case 06-02229-lmj11   Doc 348 Filed 09/25/08 Entered 09/25/08 19:20:15   Desc
                        Main Document    Page 14 of 27
Case 06-02229-lmj11   Doc 348 Filed 09/25/08 Entered 09/25/08 19:20:15   Desc
                        Main Document    Page 15 of 27
Case 06-02229-lmj11   Doc 348 Filed 09/25/08 Entered 09/25/08 19:20:15   Desc
                        Main Document    Page 16 of 27
Case 06-02229-lmj11   Doc 348 Filed 09/25/08 Entered 09/25/08 19:20:15   Desc
                        Main Document    Page 17 of 27
Case 06-02229-lmj11   Doc 348 Filed 09/25/08 Entered 09/25/08 19:20:15   Desc
                        Main Document    Page 18 of 27
Case 06-02229-lmj11   Doc 348 Filed 09/25/08 Entered 09/25/08 19:20:15   Desc
                        Main Document    Page 19 of 27
Case 06-02229-lmj11   Doc 348 Filed 09/25/08 Entered 09/25/08 19:20:15   Desc
                        Main Document    Page 20 of 27
Case 06-02229-lmj11   Doc 348 Filed 09/25/08 Entered 09/25/08 19:20:15   Desc
                        Main Document    Page 21 of 27
Case 06-02229-lmj11   Doc 348 Filed 09/25/08 Entered 09/25/08 19:20:15   Desc
                        Main Document    Page 22 of 27
Case 06-02229-lmj11   Doc 348 Filed 09/25/08 Entered 09/25/08 19:20:15   Desc
                        Main Document    Page 23 of 27
Case 06-02229-lmj11   Doc 348 Filed 09/25/08 Entered 09/25/08 19:20:15   Desc
                        Main Document    Page 24 of 27
Case 06-02229-lmj11   Doc 348 Filed 09/25/08 Entered 09/25/08 19:20:15   Desc
                        Main Document    Page 25 of 27
Case 06-02229-lmj11   Doc 348 Filed 09/25/08 Entered 09/25/08 19:20:15   Desc
                        Main Document    Page 26 of 27
Case 06-02229-lmj11   Doc 348 Filed 09/25/08 Entered 09/25/08 19:20:15   Desc
                        Main Document    Page 27 of 27
